                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TENNESSEE
                                         AT CHATTANOOGA

    UNITED STATES OF AMERICA                            )   COLLIER/CARTER
                                                        )
            v.                                          )   CASE NO. 1:10-CR-110
                                                        )
    MARY REVELS                                         )




                                   REPORT AND RECOMMENDATION

            Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 1,

    2011. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

    One of the Indictment, conspiracy to distribute and manufacture and distribute five grams or

    more of actual methamphetamine or fifty grams or more of a mixture and substance containing a

    detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

    USC§§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings made by the

    government in the written plea agreement. On the basis of the record made at the hearing, I find

    that the defendant is fully capable and competent to enter an informed plea; that the plea is made

    knowingly and with full understanding of each of the rights waived by defendant; that it is made

    voluntarily and free from any force, threats, or promises, apart from the promises in the plea

    agreement; that the defendant understands the nature of the charge and penalties provided by law;

    and that the plea has a sufficient basis in fact.

            I therefore recommend that defendant's plea of guilty to the lesser included offense in

    Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

    charges set forth in the lesser included offense in Count One of the Indictment, and that the




Case 1:10-cr-00110-CLC-CHS              Document 383          Filed 11/01/11     Page 1 of 2         PageID
                                              #: 963
    written plea agreement be accepted at the time of sentencing. I further recommend, based on a

    finding of exceptional circumstances, that defendant remain on bond pending sentencing in this

    matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

    imposition of sentence are specifically reserved for the district judge.

           The defendant's sentencing date is scheduled for Thursday, February 16, 2012, at 9:00

    am.




                                                   UNITED STATES MAGISTRATE JUDGE




                                          NOTICE TO PARTIES

           You have the right to de novo review of the foregoing findings by the district judge. Any
    application for review must be in writing, must specify the portions of the findings or
    proceedings objected to, and must be filed and served no later than fourteen days after the plea
    hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
    challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




                                                      2




Case 1:10-cr-00110-CLC-CHS            Document 383          Filed 11/01/11       Page 2 of 2       PageID
                                            #: 964
